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                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION

UNITED STATES OF AMERICA §
                         §
    v.                   §                      CRIMINAL No.: 4:21-cr-466
                         §
VICTOR HERNANDEZ-PEREZ §



                         ORDER GRANTING MOTION
                        TO RESET SENTENCING DATE


      The Government’s Motion to re-set the sentencing date is GRANTED. The

Date of sentencing is re-set to:

      _____________________________________________________________



      SIGNED at Houston, Texas this          day of               2022.



                                      ____________________________________
                                         Honorable Sim Lake
                                         UNITED STATES DISTRICT JUDGE
